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                DECLARATION OF MELISSA J. MITCHELL

      Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

      1.     My name is Melissa J. Mitchell. I am over twenty-one years of age

and have personal knowledge of the matters set forth herein.

      2.     I am a member of the District of Columbia Bar admitted to practice

law in the District of Columbia, and I work as a senior counsel in the Enforcement

Division of the United States Securities and Exchange Commission

(“Commission”). My work primarily consists of investigating potential violations

of the securities laws. I have ten years of experience at the Commission.

      3.     Staff members of the Commission routinely access legally required

disclosures of registered investment advisers through the Commission’s IAPD

website, including the disclosures on Commission Form ADV. I have found the

Commission’s website to contain accurate copies of Forms ADV submitted by

registered investment advisers.

      4.     Form ADV is a two-part document that investment advisers are

required to file or update annually. Part 1 contains “check-the-box” information

about the firm, and Part 2 is a brochure, in narrative form, that describes key

information about the firm.
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      5.     On August 17, 2021, I accessed the Commission’s website and printed

a copy of the Form ADV submitted by Livingston Group Asset Management d/b/a

Southport Capital (“Southport”) in July 2021. A copy of Part 1 of Southport’s

2021 Form ADV is attached hereto as Exhibit 1. A copy of Part 2 of Southport’s

2021 Form ADV is attached hereto as Exhibit 2.

      6.     Commission staff also routinely access information regarding

disclosures made by representatives of investment advisers (i.e., the individuals

who are associated with registered corporate entities) through the Commission’s

IAPD website. I have found the Commission’s IAPD website to have accurate

records of investment adviser representative’s affiliations and disclosures made to

the Commission.

      7.     On August 17, 2021, I accessed the Commission’s IAPD website and

printed a copy of John J. Woods’s IAPD record. A copy of that printout is

attached hereto as Exhibit 3.

      8.     On August 17, 2021, I accessed the Commission’s IAPD website and

printed a copy of James Woods’s IAPD record. A copy of that printout is attached

hereto as Exhibit 4.

      9.     On August 17, 2021, I accessed the Commission’s IAPD website and

printed a copy of Michael Mooney’s IAPD record. A copy of that printout is

attached hereto as Exhibit 5.

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      10.    As part of the SEC’s investigation of this matter I searched the

internet and news sites for information regarding Mr. Woods, Southport and

Horizon Private Equity, III, LLC (“Horizon”). One item that I located during that

search was a news article from the Chattanoogan.com dated September 28, 2008,

which reported that Mr. Woods had acquired Southport Capital from a

Chattanooga family. A copy of the article is attached as Exhibit 6.

      11.    As part of the SEC’s investigation of this matter, we sought evidence

regarding the assets and expenditures of Horizon. To that end, we obtained records

from brokerage firms and banks for accounts in the name of Horizon. I reviewed

those records to attempt to determine whether investor funds were being used for

investments in the manner that was represented to Horizon investors.

       12. Based on my review of bank statements and brokerage records from

July 2021, it appears that Horizon had liquid assets of less than $16 million, most

of which was held in a brokerage account at a broker dealer registered with the

Commission. Horizon’s bank account had a balance of $349,974.53.

      13.    I interviewed several individuals affiliated with entities that received

large sums of cash from the bank accounts in the name of Horizon, including

Bassam Issa, Bill Lind and Clint Wolford (the “Developers”). The corporate

entities with which the Developers are affiliated sent to and received from

Horizon’s bank accounts several millions of dollars during the past several years.

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